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           IN THE UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,

                Plaintiff,
                                               Civil Action
      v.
THE MILTON HERSHEY SCHOOL                      No. 1:16-cv-01958-JEJ
AND SCHOOL TRUST, et al.                       (The Honorable John E. Jones)

                Defendants.


      MOTION TO INTERVENE AND UNSEAL JUDICIAL RECORDS
      The Philadelphia Inquirer, PBC (“The Inquirer”), publisher of The

Philadelphia Inquirer, seeks leave to intervene in the above-captioned case for the

limited purpose of seeking an order unsealing judicial records in this matter,

including the documents at docket entries 45, 46, 48, 54, 55, 59, 80, 82, 85, and 86.

This Motion is made on the grounds that:

      1.     As a news organization, The Inquirer may intervene in this matter for

the limited purpose of seeking an order unsealing court documents, including the

sealed documents at docket entries 45, 46, 48, 54, 55, 59, 80, 82, 85, and 86.

      2.     The Inquirer has a First Amendment right to access judicial records

filed with the Court in this matter, including the sealed documents at docket entries

45, 46, 48, 54, 55, 59, 80, 82, 85, and 86, and said constitutional right is not

overcome.


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      3.     The Inquirer has a common law right of access to judicial records

filed with the Court in this matter, including the sealed documents at docket entries

45, 46, 48, 54, 55, 59, 80, 82, 85, and 86, and said common law right is not

overcome.

      4.     To the extent countervailing interests overcome The Inquirer’s First

Amendment and common law rights of access to certain information in the judicial

records under seal in this matter, any sealing must be no broader than necessary to

serve those interests and must be supported by specific, on-the-record factual

findings.

      This Motion is based on the concurrently filed Memorandum of Law in

Support of Motion to Intervene and Unseal Judicial Records, all pleadings, records,

and files in the above-captioned case, all matters of which the Court shall take

judicial notice, and on such argument as may be presented by counsel at any

hearing on this Motion.

Dated: June 20, 2019                   Respectfully submitted,


                                       By: /s/ Michael Berry
                                         Michael Berry
                                         BALLARD SPAHR, LLP
                                         berrym@ballardspahr.com
                                         1735 Market Street, 51st Floor
                                         Philadelphia, PA 19103-7599
                                         Telephone: (215) 988-9773
                                         Facsimile: (215) 864-8999
                                          *Katie Townsend

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                               *Jennifer Nelson
                               THE REPORTERS COMMITTEE FOR
                               FREEDOM OF THE PRESS
                               1156 15th St. NW, Suite 1020
                               Washington, D.C. 20005
                               Phone: 202.795.9300
                               Facsimile: 202.795.9310
                               ktownsend@rcfp.org
                               *Pro Hac Vice Application Pending
                               Counsel for Proposed Intervenor
                               The Philadelphia Inquirer, PBC




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         CERTIFICATE OF COMPLIANCE WITH LOCAL RULES

      I certify that co-counsel for The Inquirer, Katie Townsend of The Reporters

Committee for Freedom of the Press, sought concurrence in this motion from each

party, as required by L.R. 7.1, as follows:

      On May 24, 2019, Ms. Townsend contacted Matthew B. Weisberg, counsel

for Adam Dobson, by telephone and e-mail. On May 31, 2019 in response to a

request from Mr. Weisberg, Ms. Townsend provided Mr. Weisberg with a list of

docket entries corresponding to the records The Inquirer seeks to unseal. Ms.

Townsend followed up with Mr. Weisberg again via e-mail on June 14; Mr.

Weisberg has not responded to that e-mail and has not yet provided The Inquirer

with Plaintiff’s position.

      On June 17, 2019, Ms. Townsend contacted Jarad W. Handelman, Christine

M. Wechsler, and Kyle M. Elliott, counsel for The Milton Hershey School and

School Trust, the Milton Hershey School Trust, and the Board of Managers of the

Milton Hershey School, who responded that they do not concur in this Motion.

      On June 19, 2019, Ms. Townsend contacted F. Frederic Fouad and Jeff

Schreiber, counsel for Protect The Hersheys’ Children, Inc., who consented to this

motion and the requested unsealing.

                               /s/ Michael Berry
                                Michael Berry
